       Case 2:18-cr-00036-LGW-BWC Document 85 Filed 03/08/19 Page 1 of 2


                       I]NTTED STATES DISTRICT COT]RT
                       SOUTHERN DISTRICT OF GEORGIA
                             BRI.]NSWICK DTVISION

 I]MTED STATES OF AMERICA                      )   cR 218-36
                                               )
              v.                               )
                                               )
 JONATTIAN I,A]\,IAR MANET                     )

  STIPI,]I,ATION REGARDING ADNISSIBLIIY OF BUSINESS RECORD OF
                         BENJI AUTO SALES

      The parties agree and stipulate that Government Exhibit 11, a business record of

Benji Auto Sales, Westpark, Florida, pertaining to the sale of a20L6 Chrysler 300 to Zanaba

Manet on JuIy 1,20L7, is an authentic copy of the actual company business record    it
purports to be, and is admissible at trial under Federal Rules of Evidence 803(6)

(business records), 901, and 902 (authentication).


                                   Respectfully submitted,



                                              Alan David Tucker
Assistant United States Attorney



                                              Jonathan Lamar Manet
                                              Defendant
          Case 2:18-cr-00036-LGW-BWC Document 85 Filed 03/08/19 Page 2 of 2
,*:-

                                 CERTIFICATE OF SERVICE

          This is to certifr that I have on this day senred all the parties in this case in

   accordance   with the notice of electronic filing (.NEF') which was generated as a result

   of electronic fiIing in this Court.

          n i, /dday       of March 2019.

                                                  Respectfully submitted,

                                                  BOBBY L. CHRISTINE
                                                  UNITED STATES ATTORNEY

                                                  lsl   Karl I. Knoche
                                                  Karl I. Knoche
                                                  Assistant United States Attorney



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